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                      OLIVE GARDEN ITALIAN RESTAURANT
                    9
                   10                                    UNITED STATES DISTRICT COURT

                   11                                         DISTRICT OF NEVADA

                   12

                   13    RACHEL W. KOVAR,                                   CASE NO. 2:20-cv-01819-JCM-BNW

                   14                      Plaintiffs,
                                                                            STIPULATION AND ORDER TO
                   15              vs.                                      EXTEND DISCOVERY DEADLINES

                   16    GMRI, INC. d/b/a THE OLIVE GARDEN
                         ITALIAN RESTAURANT, a Florida foreign              [FIRST REQUEST]
                   17    corporation; DOE Individuals I through X;
                         and ROE Corporations and Organizations I
                   18    through V, inclusive,

                   19                      Defendants.
                   20

                   21            COME NOW, Defendant GMRI, INC. d/b/a THE OLIVE GARDEN ITALIAN
                   22 RESTAURANT (“Defendant”) and Plaintiff RACHEL W. KOVAR (“Plaintiff”), by and through

                   23 their respective counsel of record, and pursuant to LR 6-1 and LR 26-3, hereby stipulate and

                   24 request that all current discovery deadlines in the above-captioned case be continued for a period

                   25 of ninety (90) days. In addition, the parties request that all other future deadlines contemplated by

                   26 the Scheduling Order be extended pursuant to Local Rule. In support of this Stipulation and

                   27 Request, the parties state as follows:

                   28            1.        On September 30, 2020, Defendant filed its Petition for Removal regarding Eighth
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4838-7479-2662.1
ATTORNEYS AT LAW
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                    1 Judicial District Court Case No. A-20-820490-C. [ECF No. 1]

                    2            2.        On September 30, 2020, Defendant answered Plaintiff’s Complaint in the federal

                    3 court action. [ECF No. 5]

                    4            3.        On October 13, 2020, the parties conducted an initial FRCP 26(f) conference.

                    5            4.        On October 16, 2020, Plaintiff served her FRCP 26 Initial Disclosures on

                    6 Defendant.

                    7            5.        On October 27, 2020, Defendant served its FRCP 26 Initial Disclosures on

                    8 Plaintiff.
                    9            6.        On October 27, 2020, the parties filed a Stipulated Discovery Plan and Scheduling

                   10 Order. [ECF No. 9]

                   11            7.        On October 29, 2020, the parties submitted the Joint Status Report as ordered by

                   12 ECF No. 6. [ECF No. 10]

                   13            8.        On November 3, 2020, Plaintiff served interrogatories and requests for production

                   14 of documents on Defendant.

                   15            9.        On November 11, 2020, Defendant served interrogatories, requests for admissions,

                   16 and requests for production of documents on Plaintiff.

                   17            10.       On November 12, 2020, the Court denied the parties’ Discovery Plan and

                   18 Scheduling Order [ECF No. 9] and issued the currently operative Scheduling Order. [ECF No. 11]

                   19            11.       On December 2, 2020, Defendant served it responses to Plaintiff’s written
                   20 discovery requests.

                   21            12.       On December 7, 2020, Plaintiff’s counsel requested, and Defendant’s counsel

                   22 agreed to, an extension for Plaintiff to respond to Defendant’s written discovery requests.

                   23            13.       On December 28, 2020, Plaintiff served her responses to Defendant’s written

                   24 discovery requests.

                   25                                        DISCOVERY REMAINING

                   26            1.        Plaintiff will take the deposition of Defendant’s employee witness involved in the

                   27 subject accident.
LEWIS              28
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BISGAARD
& SMITH LLP
ATTORNEYS AT LAW        4838-7479-2662.1                                    2
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                    1            2.         Defendant will take the deposition of Plaintiff.

                    2            3.         The parties will designate initial expert witnesses.

                    3            4.         The parties will designate rebuttal expert witnesses.

                    4            5.         The parties will take the depositions of the designated expert witnesses.

                    5            6.         The parties will take the depositions of any and all other witnesses garnered

                    6 through discovery.

                    7            7.         The parties will continue to gather relevant records.

                    8                      WHY REMAINING DISCOVERY HAS NOT BEEN COMPLETED
                    9            Pursuant to Local Rule 26-3, the parties aver that good cause exists for the following

                   10 requested extension. This Request for an extension of time is not sought for any improper purpose

                   11 or other purpose of delay. Rather, it is sought by the parties solely for the purpose of allowing

                   12 sufficient time to conduct discovery. The parties are actively engaging in scheduling the

                   13 depositions of Plaintiff and Defendant’s employee witness to the subject incident. Nonetheless, the

                   14 COVID-19 pandemic has slowed the parties’ ability to streamline discovery.

                   15            Pursuant to the above, the parties have conferred and request an extension of the current

                   16 deadlines as they will not currently suffice for the logistics of this case.

                   17                 EXTENSION OR MODIFICATION OF THE DISCOVERY PLAN AND

                   18                                             SCHEDULING ORDER

                   19            LR 26-3 governs extensions of the Discovery Plan and Scheduling Order. Any stipulation
                   20 or motion to extend or modify that Discovery Plan and Scheduling Order must be made no later

                   21 than twenty-one (21) days before the expiration of the subject deadline and must comply fully

                   22 with LR 26-3.

                   23            This is the first request for extension of time in this matter. The parties respectfully submit

                   24 that the reasons set forth above constitute compelling reasons for the extension.

                   25            The following is a list of the current discovery deadlines and the parties’ proposed

                   26 extended deadlines:

                   27 / / /
LEWIS              28
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& SMITH LLP
ATTORNEYS AT LAW        4838-7479-2662.1                                       3
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                    1    Event                             Current Deadline                Proposed Deadline
                    2    Expert Disclosure pursuant to January 28, 2021                    April 28, 2021
                         FRCP 26(a)(2)
                    3    Rebuttal Expert Disclosure February 27, 2021                      May 28, 2021
                    4    pursuant to FRCP 26(a)(2)
                         Discovery Cut-off             March 29, 2021                      June 28, 2021
                    5
                         Dispositive Motions               April 28, 2021                  July 27, 2021
                    6
                         Joint Pretrial Order              May 28, 2021                    August 26, 2021
                    7

                    8
                                 WHEREFORE, the parties respectfully request that all current discovery deadlines in the
                    9
                        above-captioned case be continued for a period of ninety (90) days, as outlined in accordance with
                   10
                        the table above.
                   11
                        DATED this 7th day of January, 2021.                  DATED this 7th day of January, 2021.
                   12
                        LEWIS BRISBOIS BISGAARD & SMITH LLP                   O’REILLY LAW GROUP, LLC
                   13
                      /s/Josh Cole Aicklen                                    /s/Timothy R. O’Reilly
                   14 JOSH COLE AICKLEN                                       TIMOTHY R. O’REILLY, ESQ.
                   15 Nevada Bar No. 07254                                    Nevada Bar No. 8866
                      PAUL A. SHPIRT                                          O’REILLY LAW GROUP, LLC
                   16 Nevada Bar No. 10441                                    325 S. Maryland Parkway
                      JENNIFER R. LANAHAN                                     Las Vegas, NV 89101
                   17 Nevada Bar No. 14561
                      6385 S. Rainbow Boulevard, Suite 600                    GERALD I. GILLOCK, ESQ.
                   18 Las Vegas, Nevada 89118                                 Nevada Bar No. 51
                   19                                                         GERALD I. GILLOCK & ASSOCIATES
                      Attorneys for Defendant                                 428 South Fourth Street
                   20 GMRI, INC. d/b/a THE OLIVE GARDEN                       Las Vegas, NV 89101
                      ITALIAN RESTAURANT
                   21                                                         SAMUEL MIREJOVSKY, ESQ.
                                     ORDER                                    Nevada Bar No. 13919
                   22                                                         ASHLEY M. WATKINS, ESQ.
                        IT IS SO ORDERED
                   23                                                         Nevada Bar No. 13981
                        DATED: 3:50 pm, January 11, 2021                      SAM & ASH, LLP
                   24                                                         1108 S. Casino Center
                                                                              Las Vegas, NV 89104
                   25
                          BRENDA WEKSLER                                      Attorneys for Plaintiff
                   26
                          UNITED STATES MAGISTRATE JUDGE                      RACHEL W. KOVAR
                   27
LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW        4838-7479-2662.1                                  4
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                                                        12 Filed 01/11/21
                                                                 01/07/21 Page 5
                                                                               7 of 6
                                                                                    8


Abrante, Tina

From:                                          Timothy R. O'Reilly <tor@oreillylawgroup.com>
Sent:                                          Thursday, January 7, 2021 1:56 PM
To:                                            Lanahan, Jennifer
Cc:                                            Shpirt, Paul; Abrante, Tina; gchavez@gmk-law.com; Gerald Gillock; Tracie M. Jefcik
Subject:                                       [EXT] RE: Rachel Kovar v. GMRI - Extending deadlines
Attachments:                                   Kovar v. Olive Garden - SAO to Extend Discovery Deadlines (First Request).docx

Follow Up Flag:                                Follow up
Flag Status:                                   Flagged

Categories:                                    JENNIFER JENNIFER JENIFFER



 External Email



You have permission to e-sign my name for the Plaintiffs.


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From: Lanahan, Jennifer <Jennifer.Lanahan@lewisbrisbois.com>
Sent: Thursday, January 7, 2021 10:49 AM
To: Timothy R. O'Reilly <tor@oreillylawgroup.com>
Cc: Shpirt, Paul <Paul.Shpirt@lewisbrisbois.com>; Abrante, Tina <Tina.Abrante@lewisbrisbois.com>; gchavez@gmk-
law.com; Gerald Gillock <gillock@gmk-law.com>; Tracie M. Jefcik <TMJ@oreillylawgroup.com>
Subject: RE: Rachel Kovar v. GMRI - Extending deadlines
Importance: High

Counsel,

Pursuant to my earlier email, please see the proposed SAO to Extend Discovery Deadlines attached to this email for your
review.

Jennifer




                                                                                   1
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                                                      12 Filed 01/11/21
                                                               01/07/21 Page 6
                                                                             8 of 6
                                                                                  8

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                                                 Attorney
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From: Lanahan, Jennifer
Sent: Thursday, January 7, 2021 8:51 AM
To: Timothy R. O'Reilly <tor@oreillylawgroup.com>
Cc: Shpirt, Paul <Paul.Shpirt@lewisbrisbois.com>; Abrante, Tina <Tina.Abrante@lewisbrisbois.com>; gchavez@gmk-
law.com; Gerald Gillock <gillock@gmk-law.com>; Tracie Jefcik <TJ1@oreillylawgroup.com>
Subject: Rachel Kovar v. GMRI - Extending deadlines

Good morning Timothy,

Would you be willing to stipulate to extend the discovery deadlines by 3 months? Initial expert disclosures are already
coming up on 1/28, and I don’t know that that gives us enough time. Let me know. Thanks!
Jennifer R. Lanahan
Attorney
Las Vegas Rainbow
702.693.4387 or x7024387




                                                                          2
